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                                                                                                     FILED
        ~           J                                                                       CLEIt1(, U.S. DLS'fWC( COURT


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                                                                                          CeNTRAI•DISiR1CC OF CALIFORMA
                                                                                            BY:      KL          DEPVIY




                                                            URT
                                  UNITED STATES DISTRICT CO
                                                          FORNIA
                                 CENTRAL DISTRICT OF CALI
                                                                    CASE NUMBFJO


United States of
                 America,                                                                 20-MJ-5207
                                                       Plaintiff,
                        v.
                                                                                        ADVISEMENT OP
Rong Jing                                                                                                Y&
                                                                                   DEFENDANT'S STATUTORTS
                                                                                    CONSTITUTIONAL RI GH
                                                     Defendant.
                                                                                                         you have been charged
                          Stat es Dist rict Cou  rt  for  the Cen tra l District of California becauseor pretrial release. The
You are in the United                          or a violation of probation, superv
                                                                                          ised release,
                                                                                                                          h these
with a crime against the United States following constitutional and statutory rights in connection wit
Court informs you that you have the
proceedings:                                                                                                            this or in
                                            sile nt.  Any  thi ng you  say, sign , or write can be used against you in
         You have the right to remain
any er case.
     oth                                                                                             today.
                hav e not  alr ead y rece ived  a  cop y of the charges, you will receive a copy
         If you                                                                                          each and every stage of
                     the  righ t to  hire  and  be   rep res ent ed by a lawyer of your choosing at hav     e a lawyer appointed
          You have                                to  hire
                                                                                                      to
                                                           a lawyer, you can apply to the Court igent Defense Panel. The
                  gs.  If you   can not  affo rd
 these proceedin                            office of the Federal Public Defender
                                                                                           or the Ind
                                                                                                                               you
 to represent you for free from thees a financial affidavit, which you must sign under penalty of perjury. Ifther
 application for free counsel     inc lud                                             ation, you could be charged wit   h ano
     som eth  ing on the  for m  that  is not true or leave out material inform
 say                                       false statement.
 crime, such as perjury or making a                                                                                       ar office
                                  ted  Stat es citi zen,  you  may   req ues t that the prosecution notify your consul
          If you are not a Uni                                                             ire the prosecution to do so.
       you hav e bee n arre sted . Eve  n without such a request,the law may requ
  that
                                                                                                                URT
                                                              TIAL APPEARANCE BEFORE THE CO
                 IF YOU ARE MAKING YOUR INI                                                                                   will be
                                     bail   hea rin g in whi  ch  the  Mag ist rate Judge will determine whether you     app eal that
          You have a right to a                       disa gree  wit h  the   Magistrate Judge's decision, you can tinued to
                               ore  tria l.  If  you                                               the bail hearing be con
 released from custody bef                        You or the prosecutor can request that
 decision to another Judge of this Court.
 another day.                                                                                                     hin 14 days if the
                                                      int , you  are  enti  tled to a preliminary hearing witord
          If you have been    cha rge  d  by  com pla                                                          ge ers that you be
                        ers that  you    be  det ain ed pen din  g trial, or 21 days if the Magistrate Judthat there is probable
 Magistrate Judge ord                               hearing, the prosecution will attemp
                                                                                                  t to show
 released pending trial. In a preliminary                  me  cha  rge d  in  the  com pla int .   You will not be entitled to a
                                                  the  cri                                                                         the
  cause to believe that you committed secution obtains an indictment in your case before the time set for                       to the
  preliminary hearing, however, if the        pro                                                                      r case s
                                        n, the  pro sec uto rs in  the Cen  tra l District of California present theiheld.)
  preliminary hearing. (Most ofte                                                            preliminary hearing is
     and jury befo re the tim e set for  the  preliminary hearing and, therefore, no
  gr
                                                                           VIOLATION OF
                               IF YOU ARE CHARGED WITH A EASE OR PROBATION
                                                                      D REL
                     YOUR CONDITIONS OF SUPERVISE
                                                                                                      release or probation
                                    a  viol atio n of the ter ms  and conditions of your supervised
         If you are cha rge d wit h                                                                     istrate Judge.
                            det ain s you , you   have the righ t to a preliminary hearing before a Mag
  and the Magistrate Judge
                                                                                                                                    PAGE l OF 2
                                                      STATUTORY &CO                 NSTITUTIONAL RIGHTS
  CR-~o(O6/IS)               ADVISEMENT OF DEFENDANTS                                                                      rnntinuv~l nn Pnw
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                                IF YOU ARE CHARGED IN ANOTHER DISTRICT
         If you have been arrested on a charge from another district, you are entitled to wait until the prosecution
produces a copy of the warrant authorizing your arrest. You are also entitled to an identity hearing in which the
prosecution would have the burden of proving there is probable cause to believe that you are the person named
 in the charges. If you are charged in a complaint from another district, you may request to have a preliminary
                                                                                                                        e or
 hearing held in the charging district. If you are charged with a violation of a term of supervised releas
                                                           right  to  a prelim inary   hearin   g, which may, depen ding on
  probation imposed in another district, you have a
  where the alleged violation occurred, be held either here or     in the chargi  ng distric t.
                                                                                            may request to have your case
            If you want to plead guilty in the Central District of California, you
                                                                       United States Attorneys for this district and the
   transferred to this district. To proceed in this district, the
   charging district must agree to the transfer.
                                    IF YOU ARE APPEARING FOR ARRAIGNMENT
                                                                              will be arraigned and maybe asked to enter
             If you have been charged by indictment or information, you
                                                                    will be assigned to a District Judge of this Court for
    a not guilty plea today. After your arraignment, your case ed.
    all further proceedings, unless a Judge has already been assign
                                                                          right to a jury trial can be waived.
             You are entitled to a speedy and public trial by jury. The
                                                                            examine the witnesses against you. You are
              You are entitled to see and hear the evidence and cross- your behalf without cost to you if you are
                                                                         on
    entitled to the processes of the Court to subpoena witnessesprosecution has the burden to prove your guilt
    indigent. You do not have to prove your innocence. The
    beyond a reasonable doubt.

   ACKNOWLEDGMENT OF DEFENDANT:
                                                                                                          statement
                                                          tand it. I do not require a translation of this
   I have read the above Advisement of Rights and unders
   nor do I require an interpreter for court proceedings.
                             r'                                                       1         ~             ~~'~     ~`r,
        Dated:        ~ C~`L ~~~                                                    Signature o Defen ant
                                                             (or
                                                                                                language read to me and
                                                 the (~~~`~ v`
        I have personally heard a translation in
                                               Rights.
        understand the above Advisement of
                                                                                                 ~~                n           ~~~~

        Dated:        i U Z~-'ZO


    STATEMENT OF THE INTERPRETER:
                                                                                         4~~~ ~                        language.
                                                    to the Defe     dant in the
        I have translated this Advisement of Rights
                                                                                                                                   l
                                                                                                                                   '
         Dated:       ~ CJ —Z~`-~--d                                                Signature o Interpreter                  —~



                                                                                    Print Name o Inte     ter




    STATEMENT OF COUNSEL:
                                                                               is     has hear          e interpretation
                                                  this Advisement of
       I am satisfied that the defendant has read
       thereof and that he/she understands it.

         Dated:       ~ ('~—~ ~Za                                                     Signature o Attorney
                                                                                                                           PAGE 2 OF 2
                                                                 TORY & C(pNST~TUTIONAL RIGHTS
      CR-lo (06/18)         ADVISEMENT OF DEFENDANT'S STATU
